          Case 9:17-cv-00123-DLC Document 61 Filed 01/18/18 Page 1 of 1


                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MONTANA
                                                                               FILED
                              MISSOULA DIVISION                                JAN 18 2018
                                                                           ~·'l8trict
                                                                                 U.s Di.tr;
                                                                                      Of Afo ct Court
                                                                                  Misaoutantana
 CROW INDIAN TRIBE; et al.,
                                                                CV 17-89-M-DLC
                      Plaintiffs,
                                                          (Consolidated with Case Nos.
     vs.                                                      CV 17-117-M-DLC
                                                                                  '
                                                              CV 17-118-M-DLC
                                                                                  '
 UNITED STATES OF AMERICA; et al.,                            CV 17-119-M-DLC
                                                                                  '
                                                            and CV 17-123-M-DLC)
                      Defendants.
     and                                                             ORDER

 STATE OF WYOMING; STATE OF
 IDAHO; SAFARI CLUB
 INTERNATIONAL and NATIONAL
 RIFLE ASSOCIATION OF AMERICA,

                      Defendant-Intervenors.


      This matter now fully briefed and ready for oral argument, 1

      IT IS ORDERED that the Court will conduct a hearing on the Defendants

Motion to Stay (Doc. 61) on Tuesday, March 13, 2018 at 1:30 p.m. at the Russell

Smith Courthouse in Missoula, Montana .
                            .u,
      DATED this~ day of January, 2018.




                                                     Dana L. Christensen, Chief Judge
                                                     United States District Court
      1
          The Court understands that reply briefs are forthcoming.
